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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               LAREDO DIVISION

SYLVIA BRUNI; TEXAS DEMOCRATIC
PARTY; DSCC; DCCC; and JESSICA TIEDT,

       Plaintiffs,

v.                                           CIVIL ACTION NO. 5:20-cv-00035

RUTH R. HUGHS, in her official capacity as
the Texas Secretary of State,

       Defendant.


     THE TEXAS SECRETARY OF STATE’S MOTION TO DISMISS OR, IN THE
                   ALTERNATIVE, TRANSFER VENUE
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                         INTRODUCTION AND SUMMARY OF THE ARGUMENT

        The consensus against straight ticket voting is nearly nationwide. With HB 25, Texas joined

forty-three other states in requiring voters to make individual selections on their ballots. Not one of

those laws has been held unconstitutional. This Court should likewise reject Plaintiffs’ claims.

        But the Court need not reach the merits. This case should not be on the Court’s docket in the

first place. Venue in the Southern District is improper. None of the events giving rise to Plaintiffs’

claim occurred in the Southern District. The Secretary is the only defendant, and any official action

that she takes regarding HB 25 would occur in the Western District.

        Plaintiffs’ claims also suffer from jurisdictional flaws. First, the Ex parte Young exception to

sovereign immunity does not apply because the Secretary does not enforce HB 25. Second, Plaintiffs

lack standing because, even if the Secretary took no action at all, local officials would continue to

implement HB 25. Thus, the Secretary does not cause Plaintiffs’ supposed injuries, and relief against

her could not redress those injuries. Third, Plaintiffs lack standing to challenge HB 25 because they

have not plausibly alleged any Article III injury in fact. Plaintiffs’ unsubstantiated theory rests on

speculation about how third parties not before the Court will react to HB 25. And Plaintiffs failed to

plausibly allege associational standing, organizational standing, or third-party standing.

        On the merits, HB 25 is constitutional. No state law repealing straight ticket voting has been

held unconstitutional.

        It is no surprise courts have upheld these laws. Repealing straight ticket voting does not burden

anyone’s right to vote. All eligible Texans can still vote for their preferred candidates. In fact, they can

still vote for all candidates from one party, if they so choose. Voters simply have to make individual

selections, just as they do in primary and non-partisan elections.

        Plaintiffs attempt to distinguish Texas from forty-three other States not offering straight ticket

voting by complaining about “Texas’s lengthy ballots.” ECF 1 ¶ 61. Ballots are lengthy because Texans



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have the right to elect so many of their leaders. Texans chose a system that lets them vote for more

offices than people in other States can. While Plaintiffs may disagree with that public policy choice, it

cannot be said that increasing the number of elected offices reduces Texans’ voting rights.

        HB 25 furthers important State interests since it leads to more-informed voting and better-

qualified candidates. HB 25 also reduces “roll off ” for non-partisan ballot items, minimizes voter

confusion, makes elections more competitive, and makes incumbents more responsive to voters.

        Plaintiffs’ other claims fail as well. First, the Voting Rights Act does not require straight ticket

voting. Under HB 25, all voters remain able to participate in Texas elections. HB 25 does not affect

minority voters’ ability to elect candidates of their choice. In any event, Congress did not authorize

Plaintiffs to bring a private cause of action. Second, HB 25 does not violate the Equal Protection

Clause since the law is neutral and it does not discriminate against anyone. It draws no racial

distinctions and was not intended to do so. Third, Plaintiffs’ viewpoint-discrimination claim rests on

a theory no court has recognized in the context of straight ticket voting.

        Finally, Plaintiffs are not entitled to equitable relief. They had years to file this action. Yet they

waited until the eleventh hour, during the midst of a pandemic, to burden the State with this suit.

Plaintiffs should not benefit from their delay. Laches bars Plaintiffs’ claims.

                                              BACKGROUND

        Forty-four states will not offer straight ticket voting in 2020.1 In recent years, more and more

States have repealed straight ticket voting. They recognize its central problems: encouraging voters to

ignore every consideration except partisan affiliation. That is a recipe for bad governance.

        Respected Texas judges have repeatedly warned about the dangers of straight ticket voting.

Chief Justice Jefferson, for example, recommended “eliminat[ing] straight-ticket voting that allows



1National Conference of State Legislatures, Straight Ticket Voting States (Mar. 25, 2019), https://
www.ncsl.org/research/elections-and-campaigns/straight-ticket-voting.aspx (last visited Apr. 9, 2020).


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judges to be swept from the bench . . . not for poor work ethic, not for bad temperament, not even

for their controversial but courageous decisions—but because of party affiliation.” He pointed to

wave elections, some of which had harmed Republicans and some of which had harmed Democrats,

but all of which had harmed the Texas judiciary: “We saw this in Dallas County four years ago and in

Harris County in the 1990s, in 2008 and just last year. Hordes of judges replaced for no good reason.”2

         Unsurprisingly, many Texas legislators have attempted to repeal or limit straight ticket voting.

Between 1999 and 2017, Texas legislators introduced at least 23 bills aimed at curtailing straight ticket

voting,3 including five repeal bills authored or co-authored by Democratic legislators.4

         Nearly three years ago, a bill succeeded: HB 25. Legislators were concerned “that straight-

party voting pulls a voter’s attention away from down-ballot candidates . . . and that this practice




2     Chief      Justice     Wallace      B.     Jefferson,     State     of   the   Judiciary  (Feb.     23,     2011),
https://www.sll.texas.gov/assets/pdf/judiciary/state-of-the-judiciary-2011.pdf; see also, e.g., Chief Justice
Nathan        L.      Hecht,       The     State      of    the     Judiciary    in    Texas    (Feb.      1,     2017),
https://www.sll.texas.gov/assets/pdf/judiciary/state-of-the-judiciary-2017.pdf (“removing judges from
straight-ticket voting would help”); Chief Justice Wallace B. Jefferson, The State of the Judiciary in Texas (Feb. 11,
2009) https://www.sll.texas.gov/assets/pdf/judiciary/state-of-the-judiciary-2009.pdf (“So long as we cast
straight ticket ballots for judges, the fate of all judges is controlled by the whim of the political tide.”); Chief
Justice John L. Hill, Jr., The State of the Judiciary Message (Jan. 22, 1985),
https://www.sll.texas.gov/assets/pdf/judiciary/state-of-the-judiciary-1985.pdf (noting a committee’s
recommendation of “[b]allot changes to prevent straight-party voting in judicial races”).
3 These bills are as follows: 76th Legislature, Regular Session (1999): SB 59, HB 3837; 77th Legislature, Regular Session

(2001): SB 129, HB 405, HB 1518; 80th Legislature, Regular Session (2007): SB 134; 81st Legislature, Regular Session
(2009): HB 135, HB 1768, SB 317, SB 392; 82nd Legislature, Regular Session (2011): SB 139, HB 638; 83rd
Legislature, Regular Session (2013): SB 103; HB 1857, HB 2060; 84th Legislature, Regular Session (2015): SB 1702, HB
25, HB 1288, HB 1444, HB 1555; 85th Legislature, Regular Session (2017): HB 25, HB 433, SB 2175.
4 The Democratic authors or co-authors of straight ticket voting repeal bills were Rodney Ellis, Robert Junell,

Senfronia Thompson, Bob Turner, and Mark Homer. See TEX. LEGISLATURE ONLINE,
https://www.legis.state.tx.us/BillLookup/History.aspx?LegSess=76R&Bill=SB59                    (SB       59);      TEX.
LEGISLATURE ONLINE https://www.legis.state.tx.us/BillLookup/History.aspx?LegSess=77R&Bill=SB129
(SB                       129);                     TEX,                      LEGISLATURE                     ONLINE,
https://www.legis.state.tx.us/BillLookup/History.aspx?LegSess=77R&Bill=HB405                    (HB      405);     TEX.
LEGISLATURE ONLINE, https://www.legis.state.tx.us/BillLookup/History.aspx?LegSess=77R&Bill=HB1518
(HB                       1518);                     TEX.                     LEGISLATURE                     ONLINE,
https://www.legis.state.tx.us/BillLookup/History.aspx?LegSess=81R&Bill=HB1768 (HB 1768). These
legislators’      party       affiliation     can        be     confirmed         at    the    following        website:
https://lrl.texas.gov/legeLeaders/members/lrlhome.cfm.


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discourages a voter from researching all the candidates on the ballot.”5

        Another justification for HB 25 was avoiding unintentional “roll off,” a phenomenon in which

voters vote in up-ballot races but fail to vote in down-ballot races. Straight ticket voting “causes voters

to miss out on casting votes in nonpartisan races or propositions.”6 After selecting a party at the top

of the ballot, some voters thought they were finished. But the end of the ballot often contains

nonpartisan races and propositions to which a straight party ticket does not apply. Because some

voters thought they had no need to advance beyond the first page, they never even realized they were

not voting on some races or propositions.7

        HB 25 had bipartisan support. Nine Democratic legislators voted for it.8 As one of them

explained, “I do not believe [HB 25] affects minority voting. I believe it promotes making an informed

decision.” He continued, “It’s a good thing to encourage voters to look down the ballot and choose

candidates who have varied opinions and don’t prescribe 100 percent to whichever party they are

associated with during an election.”9

        On June 1, 2017, Governor Abbott signed HB 25 into law. A delayed effective date, September

1, 2020, gave everyone time to adjust.10

        Plaintiffs filed suit on March 5, 2020, two years and nine months after HB 25 was signed, and


5       Bill       Analysis,       TEX.        HOUSE           COMMITTEE          REPORT,         available     at
https://www.legis.state.tx.us/tlodocs/85R/analysis/pdf/HB00025H.pdf#navpanes=0.
6      Bill      Analysis,      TEX.         HOUSE         RESEARCH        ORGANIZATION,            available   at
https://hro.house.texas.gov/pdf/ba85r/hb0025.pdf#navpanes=0.
7 See, e.g., Hidalgo County Sample Ballot 145-05 for the November 2018 General Election,

https://www.hidalgocounty.us/DocumentCenter/View/31392/145-05_Style64_English_Electronic.
8   TX. HOUSE J., 85th Leg., Reg. Sess., at 3982–83 (May 20, 2017), available at
https://journals.house.texas.gov/hjrnl/85r/pdf/85RDAY76FINAL.PDF#page=90. These nine legislators
were Terry Canales, Ryan Guillen, Ina Minjarez, Renè Oliveira, Mary Ann Perez, Joseph Pickett, Senfronia
Thompson, and Hubert Vo. See id. These legislators’ party affiliations can be confirmed at
https://lrl.texas.gov/legeLeaders/members/lrlhome.cfm.
9 Brianna Stone, Texas Allows Straight-Ticket Voting, But for How Long? Curious Texas has the Answer, THE DALLAS

MORNING NEWS (Oct. 31, 2018), https://www.dallasnews.com/news/curious-texas/2018/10/31/texas-
allows-straight-ticket-voting-but-for-how-long-curious-texas-has-the-answer/.
10                    See                     TEX.                     LEGISLATURE                         ONLINE,
https://www.legis.state.tx.us/BillLookup/History.aspx?LegSess=85R&Bill=HB25.


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only months before ballots must be finalized for the next election. See ECF 1. They served the

Secretary twelve days later. On March 27, before the Secretary could file a motion to dismiss, Plaintiffs

amended their complaint. See ECF 16. The Secretary now moves to dismiss Plaintiffs’ First Amended

Complaint.

                                      STATEMENT OF THE ISSUES

1.      Should this case be heard in the Southern District when the events giving rise to Plaintiffs
        claim did not occur in the Southern District?

        No, venue is improper and inconvenient. See infra Part I.

        Standard of Review: “Once [venue is] challenged, the burden of sustaining venue lies with the
        plaintiff.” Broadway Nat’l Bank v. Plano Encryption Techs., LLC, 173 F. Supp. 3d 469, 473 (W.D.
        Tex. 2016). “[I]n deciding whether venue is proper, ‘the court is permitted to look at evidence
        beyond simply those facts alleged in the complaint and its proper attachments.’” Id. (quoting
        Ambraco, Inc. v. Bossclip B.V., 570 F.3d 233, 238 (5th Cir. 2009)).

2.      Can Plaintiffs challenge HB 25 by suing the Secretary when the Secretary does not enforce
        HB 25, does not cause their asserted injuries, and cannot redress those injuries?

        No, sovereign immunity and Article III standing requirements bar this suit. See infra Part II.

        Standard of Review: “The party invoking federal jurisdiction bears the burden of establishing”
        it. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). “[A] trial court has the power to dismiss
        for lack of subject matter jurisdiction on any one of three separate bases: (1) the complaint
        alone; (2) the complaint supplemented by undisputed facts evidenced in the record; or (3) the
        complaint supplemented by undisputed facts plus the court’s resolution of disputed facts.”
        Crane v. Johnson, 783 F.3d 244, 251 (5th Cir. 2015) (quotation omitted).

3.      Do Plaintiffs have standing when their claim rests on a speculative injury?

        No, Plaintiffs have not plausibly alleged an Article III injury in fact. See infra Part III.

        Standard of Review: Same as Issue 2.

4.      Does federal law require States to offer straight ticket voting, contrary to the judgment of
        forty-four States and every court to consider the issue?

        No, HB 25 is consistent with both the Constitution and the Voting Rights Act. See infra Part
        IV.

        Standard of Review: “To survive a motion to dismiss, a complaint must contain sufficient
        factual matter, accepted as true, to state a claim to relief that is plausible on its face. A claim
        has facial plausibility when the plaintiff pleads factual content that allows the court to draw
        the reasonable inference that the defendant is liable for the misconduct alleged. Importantly,


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        the tenet that a court must accept as true all of the allegations contained in a complaint is
        inapplicable to legal conclusions.” IberiaBank Corp. v. Illinois Union Ins. Co., 953 F.3d 339, 345
        (5th Cir. 2020) (quotations and citations omitted).

5.      Can Plaintiffs seek equitable relief after inexcusably and prejudicially delaying this suit?

        No, laches bars Plaintiffs’ claims. See infra Part V.

        Standard of Review: To prove laches, the defendant must show “(1) a delay on the part of the
        plaintiff in instituting suit; (2) that is not excused; and (3) that results in undue prejudice to the
        defendant’s ability to present an adequate defense.” Nat’l Ass’n of Gov’t Emps. v. City Pub. Serv.
        Bd. of San Antonio, 40 F.3d 698, 708 (5th Cir. 1994).

                                                  ARGUMENT

I.      This Case Does Not Belong in the Southern District

        This Court should dismiss for improper venue. Fed. R. Civ. P. 12(b)(3); see also 28 U.S.C.

§ 1406(a).11 “Once challenged, the burden of sustaining venue lies with the plaintiff.” Broadway Nat’l

Bank, 173 F. Supp. 3d at 473. Plaintiffs claim that “venue is proper in the Laredo Division of the U.S.

District Court for the Southern District of Texas because a substantial part of the events that give rise

to Plaintiffs’ claims occurred here.” ECF 16 ¶ 18 (citing 28 U.S.C. § 1391(b)(2)). But that is not true.

        “A civil action may be brought in . . . a judicial district in which a substantial part of the events

or omissions giving rise to the claim occurred . . . .” 28 U.S.C. § 1391(b)(2). This analysis “require[s]

courts to focus on relevant activities of the defendant, not of the plaintiff.” Woodke v. Dahm, 70 F.3d

983, 985 (8th Cir. 1995); see also Cabot Oil & Gas Corp. v. Water Cleaning Servs., LLC, No. 4:12-cv-665,

2012 WL 2133589, at *2 (S.D. Tex. June 12, 2012) (similar).

        The only events giving rise to Plaintiffs’ claims against the Secretary occurred in the Western

District. Plaintiffs focus on the fact that “the Texas Legislature passed HB 25,” which occurred in

Austin. ECF 16 ¶ 27. Plaintiffs also claim the Secretary “will order the elimination of the STV option



11 The Court can consider venue before other issues, even jurisdiction. See Sinochem Int’l Co. v. Malaysia Int’l
Shipping Corp., 549 U.S. 422, 425, 429 (2007); Hill v. Keliher, No. 4:19-cv-2528, 2019 WL 3837113, at *3 (S.D.
Tex. Aug. 14, 2019); Watson v. Lifeshare Transplant Donor Servs. of Okla., Inc., No. 2:09-cv-130, 2009 WL 10702544,
at *2 n.1 (S.D. Tex. Sept. 3, 2009).


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from all Texas ballots pursuant to House Bill 25.” Id. ¶ 7. That is not true, for the reasons explained

below, see infra Part II, but even if it were, it would also occur in Austin, where the Secretary’s office

is located. Any official action the Secretary takes regarding HB 25 would occur in the Western District.

         This case has no significant ties to the Southern District. The Secretary does not maintain an

office in the Southern District, and no relevant action that can “be attributed to” the Secretary has

been taken in the Southern District. Southampton, Ltd. v. Le Norman, No. 3:18-cv-1089, 2019 WL

7902959, at *5 (N.D. Tex. Sept. 3, 2019). One of the five Plaintiffs seems to reside in the Southern

District, but that does not matter. “[T]he fact that a plaintiff residing in a given judicial district feels

the effects of a defendant’s conduct in that district does not mean that the events or omissions

occurred in that district.” Bigham v. Envirocare of Utah, Inc., 123 F. Supp. 2d 1046, 1048 (S.D. Tex. 2000).

        For these reasons, venue in the Southern District is improper, and the Court should dismiss.

In the alternative, the case should be transferred to the Western District “[f]or the convenience of

parties and witnesses” and “in the interest of justice.” 28 U.S.C. § 1404(a).

        Venue is appropriate in the Western District because that is where the “defendant resides.” Id.

§ 1391(b)(1). Thus, the Court should “look[ ] to the private and public interest factors” to assess the

propriety of transfer. Contreras v. Tri-Nat’l, Inc., No. 5:11-cv-74, 2012 WL 12897927, at *2 (S.D. Tex.

Jan. 9, 2012) (Marmolejo, J.). Both favor transfer.

        “The private interest factors are: (1) the relative ease of access to sources of proof; (2) the

availability of compulsory process to secure the attendance of witnesses; (3) the cost of attendance for

willing witnesses; and (4) all other practical problems that make trial of a case easy, expeditious and

inexpensive.” In re Volkswagen of Am., Inc., 545 F.3d 304, 315 (5th Cir. 2008) (en banc) (quotation

omitted). Sources of proof related to HB 25 are in the Western District. Defendant, her employees,

and her records are in Austin. The Legislature’s records are also in Austin. Plaintiff TDP is




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headquartered in Austin,12 and Plaintiff Tiedt is running for office in the Western District. See ECF 16

¶ 24.13 All of Defendant’s attorneys and one of Plaintiffs’ attorneys are in Austin. Only one Plaintiff

and no counsel are located in Laredo. Plaintiffs are likely to seek evidence or testimony from

legislators, as they have in similar litigation. Legislators are more likely to be found, and subject to the

court’s subpoena power, in the Western District than the Southern District. The cost of travel for

witnesses and counsel would be lower if the case were heard in Austin. The distance to Laredo far

exceeds the “100-mile threshold” the Fifth Circuit has established for assessing “inconvenience to

witnesses.” Volkswagen, 545 F.3d at 317; see also Contreras, 2012 WL 12897927, at *4.

        The public interest factors also favor transfer to the Western District. They “are: (1) the

administrative difficulties flowing from court congestion; (2) the local interest in having localized

interests decided at home; (3) the familiarity of the forum with the law that will govern the case; and

(4) the avoidance of unnecessary problems of conflict of laws [or in] the application of foreign law.”

Volkswagen, 545 F.3d at 315 (quotation omitted). Regarding court congestion, the Southern District

has significantly more pending cases than the Western District does.14

        Moreover, three similar cases brought by some of the same Plaintiffs (and the same law firms)

are currently pending in the Western District. See Miller v. Hughs, No. 1:19-cv-1071-LY (W.D. Tex.);

Gilby v. Hughs, No. 1:19-cv-1063-LY (W.D. Tex.); Tex. Democratic Party v. Hughs, No. 5:20-cv-8-OLG



12 Texas Democratic Party, Contact Us, https://www.texasdemocrats.org/contact/ (last visited Apr. 5, 2020).
13 House District 20 includes Burnet, Milam, and Williamson Counties. See Texas Legislative Council, District
Population                   Analysis                   with                   County                   Subtotals,
https://wrm.capitol.texas.gov/fyiwebdocs/PDF/house/dist20/r4.pdf. Those counties are in the Western
District. See 28 U.S.C § 124(d)(1)–(2).
14 See Administrative Office of the U.S. Courts, Table C-1—U.S. District Courts–Civil Statistical Tables For

The Federal Judiciary (December 31, 2019), https://www.uscourts.gov/statistics/table/c-1/statistical-tables-
federal-judiciary/2019/
12/31 (showing 5,910 civil cases in the Southern District in cell E47 and 3,158 civil cases in the Western District
in cell E48); Administrative Office of the U.S. Courts, Table D—U.S. District Courts–Criminal Statistical
Tables           For        The          Federal          Judiciary        (December             31,        2019),
https://www.uscourts.gov/statistics/table/d/statistical-tables-federal-judiciary/2019/12/31 (showing 9,307
criminal cases in the Southern District in cell I53 and 5,895 criminal cases in the Western District in cell I54).


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(W.D. Tex.). Two of those cases are before Judge Yeakel, who has already held a motion-to-dismiss

hearing considering some of the same arguments raised here. Judicial economy favors transferring this

case to the Western District and Judge Yeakel as well.

II.     The Secretary Is Not a Proper Defendant

        Venue is reason enough to dismiss or transfer this case, but Plaintiffs’ claims also suffer from

jurisdictional defects stemming from the Secretary’s limited role under the Election Code. The

Secretary does not implement the challenged portions of HB 25. Under Texas law, various local

officials are charged with preparing ballots, depending on the type of election. See Tex. Elec. Code

§ 52.002. Before HB 25, those local officials were charged with formatting the ballot to allow for

straight ticket voting. See id. § 52.071. But HB 25 deleted that provision.15 As a result, local officials

will now prepare ballots that do not provide a “straight ticket” option.

        Plaintiffs’ assertion that the Secretary “will order the elimination of ” straight ticket voting is

incorrect as a matter of law. ECF 1 ¶ 7. Under HB 25, the Secretary does not have the authority to

eliminate straight ticket voting. The Legislature already did that, and local officials will implement its

decision regardless of whether the Secretary does anything.

        Plaintiffs suggest that their purported injuries flow from the way polling places will be operated

in 2020. See ECF 1 ¶¶ 29–35. But the Secretary does not operate polling places and does not control

the length of lines to vote. Local officials have primary responsibility for reducing lines.

        Plaintiffs’ sources generally blamed lines to vote on two factors: a shortage of voting machines

and the closing of polling sites. In Texas, local officials control those factors. The Election Code gives

local officials significant discretion in determining the number of voting sites and their locations. See

Tex. Elec. Code § 43.002 (local control over precincts); id. § 85.062 (local control over early voting



15 An Act Relating to the Elimination of Straight-Party Voting, H.B. 25, § 8, https://capitol.texas.gov/
tlodocs/85R/billtext/pdf/HB00025F.pdf (repealing Section 52.071).


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polling places). Local officials also have broad authority to procure election supplies and equipment

as well as to determine how such materials will be distributed among that county’s polling places. See

Tex. Elec. Code §§ 51.003, 123.031, 125.001. A county has its own budget and can appropriate funds

toward elections as it sees fit. See Tex. Loc. Gov’t Code §§ 101.002–.003, 101.022, 102.007.

         With 254 counties, Texas sees some variation in how local officials exercise their discretion.

Conditions differ from county to county. When mistakes are made, local officials are eager to fix them

going forward. For example, Plaintiffs allege voters faced long lines in Harris County during the March

2020 primary elections. See ECF 1 ¶¶ 29–35. Harris County’s Clerk, a Democrat, publicly apologized,

took “full responsibility,” and “committed to rethinking voting machine allocations.”16

         To be sure, HB 25 requires the Secretary to provide information about the elimination of

straight ticket voting to the public as well as local and party officials. See Tex. Elec. Code § 31.012(a),

(b-1). But Plaintiffs do not complain about the Secretary’s role in keeping people informed. In fact,

providing information should alleviate Plaintiffs’ concern about “voter confusion.” ECF 16 ¶ 63.

         Similarly, HB 25 directs the Secretary to “adopt rules and establish procedures as necessary

for the implementation of the elimination of straight-party voting to ensure that voters and county

election administrators are not burdened by the implementation.” Id. § 31.012(d). But again, Plaintiffs

do not challenge that aspect of HB 25. Those rules and procedures do not even exist yet. In any event,

the rules and procedures will not themselves eliminate straight ticket voting. The statute does that.

And regulations eliminating burdens can only benefit Plaintiffs. They do not allege otherwise.

         In sum, the Legislature eliminated straight ticket voting by altering its instructions to the local

officials who prepare ballots. The Secretary provides information to interested parties and ensures no

one is burdened by HB 25, but those are not the issues about which Plaintiffs complain.


16See Alexa Ura, Harris County Clerk Apologizes to Voters, “Takes Full Responsibility” for Long Waits to Vote in Houston,
THE TEXAS TRIBUNE (Mar. 6, 2020), https://www.texastribune.org/2020/03/06/harris-county-clerk-
apologizes-long-waits-vote-houston/.


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        This results in two independent jurisdictional defects. First, the Ex parte Young exception to

sovereign immunity does not apply. Second, Plaintiffs lack standing to sue the Secretary.

        A.       Sovereign Immunity Bars Plaintiffs’ Claims

        Sovereign immunity precludes claims against state officials unless the Ex parte Young exception

applies. See McCarthy ex rel. Travis v. Hawkins, 381 F.3d 407, 412 (5th Cir. 2004). Ex parte Young “rests

on the premise—less delicately called a ‘fiction’—that when a federal court commands a state official

to do nothing more than refrain from violating federal law, he is not the State for sovereign-immunity

purposes. The doctrine is limited to that precise situation . . . .” Va. Office for Prot. & Advocacy v. Stewart,

563 U.S. 247, 255 (2011) (citation omitted). Consequently, Ex parte Young applies only when the

defendant enforces the challenged statute. See Ex parte Young, 209 U.S. 123, 157 (1908) (“some

connection with the enforcement of the act”); City of Austin v. Paxton, 943 F.3d 993, 1001–02 (5th Cir.

2019); Morris v. Livingston, 739 F.3d 740, 746 (5th Cir. 2014) (“the particular duty to enforce the statute

in question and a demonstrated willingness to exercise that duty”).

        As explained above, the Secretary does not implement the elimination of straight ticket voting.

Local officials do so when they prepare ballots. Plaintiffs identify no enforcement actions taken by the

Secretary. Instead, they cite two unrelated statutory provisions. First, Plaintiffs highlight the Secretary’s

role as “chief election officer,” ECF 1 ¶ 24 (quoting Tex. Elec. Code § 31.001(a)), but that title is not

“a delegation of authority to care for any breakdown in the election process.” Bullock v. Calvert, 480

S.W.2d 367, 372 (Tex. 1972) (narrowly interpreting “chief election officer”).

        The Secretary cannot coerce local officials into enforcing HB 25. Local officials do not report

to the Secretary. They are elected or appointed locally, and they are not bound by the Secretary’s

policies. See In re Stalder, 540 S.W.3d 215, 218 n.9 (Tex. App.—Hous. [1st Dist.] 2018) (expressing

doubt that a “party chair lacked the authority to then form and act upon her own ultimate legal

judgment” despite “having received the Secretary of State’s assistance and advice in response to an



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inquiry”); Ballas v. Symm, 351 F. Supp. 876, 888 (S.D. Tex. 1972), aff’d, 494 F.2d 1167 (5th Cir. 1974)

(“Plaintiff admits that the Secretary’s opinions are unenforceable at law and are not binding.”).

        Even if the Secretary could coerce local officials, a federal court could not order her to do so.

The Ex parte Young exception is limited to injunctions “prevent[ing] [a state official] from doing that

which he has no legal right to do.” Ex parte Young, 209 U.S. at 159. It does not authorize injunctions

directing “affirmative action.” Id.; see also Larson v. Domestic & Foreign Commerce Corp., 337 U.S. 682, 691

n.11 (1949) (noting sovereign immunity applies “if the relief requested cannot be granted by merely

ordering the cessation of the conduct complained of but will require affirmative action by the

sovereign”). Thus, sovereign immunity bars “cases where the [defendant] sued could satisfy the court

decree only by acting in an official capacity.” Zapata v. Smith, 437 F.2d 1024, 1026 (5th Cir. 1971).

        Second, Plaintiffs contend that “the Secretary is specifically responsible for prescribing ‘the

form of the ballot.’ ” ECF 1 ¶ 24 (quoting Tex. Elec. Code § 105.002(c)). But the Secretary does not

prescribe the form of ballots generally, only the form of the “State Write-In Ballot” for “Voting by

Military Personnel or Other Persons Overseas.” Tex. Elec. Code ch. 105 (title); id. § 105.002 (title).

The vast majority of voters are ineligible to use that ballot. See id. § 105.002(a). Moreover, changes in

federal law have left the State Write-In Ballot largely unused, even by military voters.17 In any event,

Plaintiffs do not allege that they, or anyone they could conceivably represent, will use the State Write-

In Ballot. The Secretary’s authority under § 105.002(c) has nothing to do with Plaintiffs’ claims.

        Neither provision allows the Secretary to enforce HB 25’s elimination of straight ticket voting

in a way that could affect Plaintiffs. As a result, sovereign immunity bars Plaintiffs’ claims.18


17 See, e.g., Election Advisory 2018-04 (Jan. 9, 2018), https://www.sos.texas.gov/elections/laws/advisory2018-

04.shtml (“As a practical matter, these changes to the FWAB mean that the State Write-In Ballot (SWAB) under
Section 105.002 of the Code has little importance in the general election for state and county officers.”);
Election Advisory 2016-18 (Sept. 15, 2016), https://www.sos.texas.gov/elections/laws/advisory2016-18.shtml
(same).
18 OCA-Greater Houston v. Texas held, without analysis, that the Voting Rights Act abrogates sovereign immunity.

See 867 F.3d 604, 614 (5th Cir. 2017). That holding does not apply to Plaintiffs’ other claims because Section


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         B.      Plaintiffs Lack Article III Standing to Sue the Secretary

         Plaintiffs cannot establish standing to sue the Secretary because her actions do not cause their

alleged injuries. Whether a ballot includes a straight ticket voting option depends on the actions of

local officials, not the Secretary. Plaintiffs’ asserted injuries are not “fairly traceable to the challenged

action of the defendant”; they are “the result of the independent action of some third party not before

the court.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992) (quotation and alterations omitted).

         Plaintiffs’ argument that a statute causes their injuries is irrelevant to the question at hand:

whether the defendant causes their injuries. See Okpalobi v. Foster, 244 F.3d 405, 426 (5th Cir. 2001) (en

banc) (dismissing for lack of standing because courts should not “confuse[ ] the statute’s immediate

coercive effect on the plaintiffs with any coercive effect that might be applied by the defendants”).

         Similarly, Plaintiffs’ purported injuries are not redressable. Relief against the Secretary would

not help Plaintiffs. Local officials would still prepare ballots without straight ticket voting. And

Plaintiffs’ requested injunction might exacerbate their alleged injuries by preventing the Secretary from

informing the public and from “ensur[ing] that voters and county election administrators are not

burdened.” Tex. Elec. Code § 31.012.19

III.     Plaintiffs Do Not Have Standing to Challenge HB 25

         Plaintiffs’ objection to HB 25 relates to election results, not injuries in fact. Federal courts are

“not responsible for vindicating generalized partisan preferences.” Gill v. Whitford, 138 S. Ct. 1916,


1983 does not abrogate sovereign immunity. See Quern v. Jordan, 440 U.S. 332, 341 (1979). Also, the Secretary
preserves the argument that OCA-Greater Houston was wrong. “Congress did not unequivocally abrogate state
sovereign immunity under Section 2 of the Voting Rights Act.” Ala. State Conference of NAACP v. Alabama, 949
F.3d 647, 655 (11th Cir. 2020) (Branch, J., dissenting). Nor could it have. See id. at 656 & n.2.
19 OCA-Greater Houston found standing to sue the Secretary, but its reasoning does not apply here. OCA-Greater

Houston distinguished Okpalobi on the ground that Okpalobi involved a private right of action. See OCA-Greater
Hous., 867 F.3d at 613. This case also involves a private right of action. Although the Secretary cannot enforce
HB 25 against local officials, in appropriate circumstances a losing candidate can through an election contest.
See Tex. Elec. Code §§ 221.003(a), 232.002. In any event, the extent of the Secretary’s power must be determined
on a case-by-case basis. As a result, OCA-Greater Houston’s ruling on that issue cannot extend beyond the record
and briefing before that court. To the extent it does, the Secretary preserves the argument that it was wrongly
decided.


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1933 (2018). Plaintiffs lack Article III standing because they complain about “group political interests,

not individual legal rights.” Id.

        Of course, in appropriate circumstances, a voter can plausibly allege that a law interferes with

his ability to vote. But Plaintiffs cannot do that here. Three Plaintiffs are artificial entities that do not

vote. The two individual Plaintiffs do not allege that they are registered voters who intend to vote in

future elections. See ECF 16 ¶¶ 20, 24. Thus, they cannot rely on any voter-related injuries in fact.

        Even putting that aside, Plaintiffs have not established standing because their claims rest on

speculation. In addition, Plaintiffs cannot rely on associational, organizational, or third-party standing.

        A.       Plaintiffs’ Claims Rest on Speculation

        Because Plaintiffs seek prospective relief, they must establish an “imminent” future injury.

Lujan, 504 U.S. at 564. The Supreme Court has “repeatedly reiterated that threatened injury must be

certainly impending to constitute injury in fact.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013)

(quotation omitted). Allegations of “an imminent injury” must be “[p]laintiff-specific.” Stringer v.

Whitley, 942 F.3d 715, 722 (5th Cir. 2019). “[F]uture injury to others is irrelevant; plaintiffs seeking

injunctive relief must show a continuing or threatened future injury to themselves.” Id. at 721.

        Plaintiffs have not plausibly alleged a certainly impending future injury. Their claims rest on

speculation. First, Plaintiffs argue HB 25 will lead to “increased polling-place lines.” ECF 16 ¶¶ 20–

24. Plaintiffs seem to believe that voters will take longer to complete their ballots and that local officials

will not use their state-law authority to ameliorate the situation. That is pure speculation about “the

independent action of some third party not before the court.” Lujan, 504 U.S. at 560. Even if Plaintiffs

could plausibly allege that local officials in some counties would fail to act (which they have not done),

they would not haves standing to challenge the implementation of HB 25 in other counties.

        Second, Plaintiffs argue HB 25 will cause voter “confusion.” ECF 16 ¶¶ 20–24. Unexplained

assertions of voter confusion are not plausible. Again, Plaintiffs speculate about “the independent



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action of some third party not before the court.” Lujan, 504 U.S. at 560. Texans are not confused by

ballots in primary and non-partisan elections, which do not include “straight party” options.

        Finally, Plaintiffs allege they are “aware of the effects” discussed above and that they will

“divert and expend additional time and resources” “to combat these effects.” ECF 16 ¶¶ 20–24. But

Plaintiffs’ reactions to HB 25 cannot constitute injuries in fact. A plaintiff “cannot manufacture

standing by choosing to make expenditures based on” an alleged harm that is not itself an injury in

fact. Clapper, 568 U.S. at 402; see also Elec. Privacy Info. Ctr. v. Presidential Advisory Comm’n on Election

Integrity, 878 F.3d 371, 379 (D.C. Cir. 2017) (“[A]ny resources [the plaintiff] used to counteract the lack

of a privacy impact assessment—an assessment in which it has no cognizable interest—were a self-

inflicted budgetary choice that cannot qualify as an injury in fact.” (quotation omitted)).

        There are additional reasons Plaintiffs’ expenditures cannot support standing. “Not every

diversion of resources to counteract [a] defendant’s conduct . . . establishes an injury in fact.” NAACP

v. City of Kyle, 626 F.3d 233, 238 (5th Cir. 2010). To establish standing, “an organizational plaintiff must

explain how the activities it undertakes in response to the defendant’s conduct differ from its ‘routine

[ ] activities,’ ” and must “identify ‘specific projects that [it] had to put on hold or otherwise curtail in

order to respond to’ the defendant’s conduct.” Def. Distributed v. U.S. Dep’t of State, No. 1:15-cv-372,

2018 WL 3614221, at *4 (W.D. Tex. July 27, 2018) (quoting City of Kyle, 626 F.3d at 238).

        Plaintiffs cannot satisfy either requirement. First, their alleged reactions to HB 25 do not

meaningfully differ from their “day-to-day operations.” ACORN v. Fowler, 178 F.3d 350, 359 (5th Cir.

1999). Plaintiffs’ only alleged reactions are to support Democratic candidates, which is what they

always do. See ECF 16 ¶¶ 20–24. “Plaintiffs have not explained how” their reactions “differ from

[their] routine [political] activities.” City of Kyle, 626 F.3d at 238. Second, Plaintiffs “have not identified

any specific projects that [they] had to put on hold or otherwise curtail in order to respond to” HB

25. City of Kyle, 626 F.3d at 238. Vague references to “other efforts” do not suffice. ECF 16 ¶¶ 20–24.



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        B.      Plaintiffs Lack Associational Standing

        For associational standing, Plaintiffs must “identify members who have suffered the requisite

harm” to establish injuries in fact. Summers v. Earth Island Inst., 555 U.S. 488, 499 (2009); see also City of

Kyle, 626 F.3d at 237 (requiring evidence of “a specific member”).

        Because Plaintiffs have not identified any specific members, let alone specific members with

certainly impending future injuries, their claims should be dismissed. See Ga. Republican Party v. SEC,

888 F.3d 1198, 1203 (11th Cir. 2018) (holding that the Georgia Republican Party lacked associational

standing because it “has failed to allege that a specific member will be injured by the rule, and it

certainly offers no evidence to support such an allegation”); Draper v. Healey, 827 F.3d 1, 3 (1st Cir.

2016) (Souter, J.) (dismissing under Rule 12(b)(1) because plaintiff did not identify a member who was

affected by the challenged regulation); Disability Rights Wis., Inc. v. Walworth Cty. Bd. of Supervisors, 522

F.3d 796, 804 (7th Cir. 2008) (concluding a plaintiff “has not established associational standing”

because its “Complaint does not identify any . . . disabled student with standing to bring suit”).

        Plaintiffs have not even alleged facts showing that they have members within the meaning of

the associational standing test. See Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 344 (1977)

(requiring “indicia of membership”). Plaintiffs must allege they have members who “elect leadership,

serve as the organization’s leadership, and finance the organization’s activities, including the case’s

litigation costs.” Tex. Indigenous Council v. Simpkins, No. 5:11-cv-315, 2014 WL 252024, at *3 (W.D.

Tex. Jan. 22, 2014). Plaintiffs say they have “members, volunteers, and constituents.” ECF 16 ¶¶ 21–

23. But they do not allege that those individuals “participate in and guide the organization’s efforts.”

Ass’n for Retarded Citizens of Dall. v. Dall. Cty. Mental Health & Mental Retardation Ctr. Bd. of Trustees, 19

F.3d 241, 244 (5th Cir. 1994). That some Texans “regularly support [Democratic] candidates” is not

sufficient. ECF 16 ¶ 23. Non-members affiliated with an association cannot create associational

standing. See Gettman v. DEA, 290 F.3d 430, 435 (D.C. Cir. 2002) (rejecting a magazine’s associational



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standing based on “readers and subscribers” because “readership is not the same as membership”).

        C.       Plaintiffs Do Not Have Organizational Standing

        To establish standing based on HB 25 “perceptibly impair[ing]” their activities, Havens Realty

Corp. v. Coleman, 455 U.S. 363, 379 (1982), Plaintiffs must plausibly allege both that it makes their

“activities more difficult” and that there is “a direct conflict between the defendant’s conduct and [their]

mission.” Nat’l Treasury Emps. Union v. United States, 101 F.3d 1423, 1430 (D.C. Cir. 1996). Plaintiffs

have not done so here. As a result, “it is entirely speculative whether the defendant’s conduct is

impeding the organization’s activities.” Id.

        Plaintiffs do not allege that HB 25 prohibits their activities. Nor could they. The statute does

not regulate Plaintiffs at all. Plaintiffs remain free to engage in all of their previous political activities.

Plaintiffs instead rely on the contention that HB 25 “decreas[es] the electoral prospects of ”

Democratic candidates. ECF 16 ¶¶ 21–23. But there is no “direct conflict” between HB 25 and

Democratic candidates winning elections. Nat’l Treasury Emps. Union, 101 F.3d at 1430.

Implementation of HB 25 “is but an intermediate step” in a speculative chain of events that, on

Plaintiffs’ telling, could lead to a Democratic candidate losing an election. Common Cause v. Biden, 909

F. Supp. 2d 9, 22 n.8 (D.D.C. 2012), aff’d on other grounds, 748 F.3d 1280 (D.C. Cir. 2014)

        As explained above, Plaintiffs cannot establish standing based on their alleged diversions of

resources. See supra Part III.A. They “cannot manufacture standing by choosing to make expenditures

based on” an alleged harm that is not itself an injury in fact. Clapper, 568 U.S. at 402. Because there is

no “direct conflict” between HB 25 and the election of Democratic candidates, Plaintiffs have not

plausibly alleged that their “expenditure of funds is truly necessary” rather than “unnecessary alarmism

constituting a self-inflicted injury.” Nat’l Treasury Emps. Union, 101 F.3d at 1430.

        D.       Plaintiffs Cannot Rely on Third-Party Standing

        Even if Plaintiffs had Article III standing, they would lack statutory standing. See Lexmark Int’l,



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Inc. v. Static Control Components, Inc., 572 U.S. 118, 127–28 nn.3–4 (2014). Section 1983 provides a cause

of action only when the plaintiff suffers “the deprivation of any rights” at issue. 42 U.S.C. § 1983. It

does not provide a cause of action to plaintiffs claiming an injury based on a third party’s rights. See

Coon v. Ledbetter, 780 F.2d 1158, 1160 (5th Cir. 1986) (“[L]ike all persons who claim a deprivation of

constitutional rights, [plaintiffs] were required to prove some violation of their personal rights.”).

        Section 1983 “incorporates, but without exceptions, the Court’s ‘prudential’ principle that the

plaintiff may not assert the rights of third parties.” David P. Currie, Misunderstanding Standing, 1981

Sup. Ct. Rev. 41, 45. When “[t]he alleged rights at issue” belong to a third party, the plaintiff lacks

statutory standing, regardless of whether the plaintiff has suffered his own injury. Danos v. Jones, 652

F.3d 577, 582 (5th Cir. 2011); see also Conn v. Gabbert, 526 U.S. 286, 292–93 (1999) (holding that a

lawyer “clearly had no standing” under § 1983 because a plaintiff “generally must assert his own legal

rights and interests, and cannot rest his claim to relief on the legal rights or interests of third parties”).

        Here, all of Plaintiffs’ claims depend on the right to vote. ECF 16 ¶¶ 86, 94, 98, 105–07, 117.

But as discussed above, Plaintiffs have not plausibly alleged they are registered voters who intend to

vote in future elections. See ECF 16 ¶¶ 20, 24. “It goes without saying that political parties, although

the principal players in the political process, do not have the right to vote.” Vieth v. Pennsylvania, 188

F. Supp. 2d 532, 546 (M.D. Pa. 2002); see also Concerned Home Care Providers, Inc. v. Cuomo, 783 F.3d 77,

91 (2d Cir. 2015). As a result, Plaintiffs are necessarily asserting the rights of third parties and therefore

cannot sue under § 1983. Because this follows from the statute itself, Plaintiffs cannot invoke any

prudential exceptions. See Am. Psychiatric Ass’n v. Anthem Health Plans, Inc., 821 F.3d 352, 359 (2d Cir.

2016) (“Because Congress specified in the statute who may sue, prudential standing principles do not

apply.”); see also Currie, 1981 Sup. Ct. Rev. at 45.

        But even if this were an issue of prudential rather than statutory standing, Plaintiffs have not

alleged any prudential exception to the bar on third-party standing. Plaintiffs do not allege that they



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have “a ‘close’ relationship with” voters or that voters face any “hindrance” to protecting their “own

interests.” Kowalski v. Tesmer, 543 U.S. 125, 130 (2004).

IV.     Federal Law Does Not Mandate Straight-Ticket Voting

        Forty-four states will not offer straight ticket voting in 2020.20 “None of [those states’ laws]

have ever been declared unconstitutional.” Mich. State A. Philip Randolph Inst. v. Johnson, 749 F. App’x

342, 355 (6th Cir. 2018) (Kethledge, J., concurring). Plaintiffs ask this Court to upend American

election law. The Court should decline.

        Plaintiffs’ claims all proceed from the premise that selecting individual candidates takes more

time than casting a straight-party ticket does. They predict that the extra time will lead to longer lines

at the polls and some voters choosing not to vote in every race. As explained above, Plaintiffs’

predictions rest on speculation about the actions of third parties not before the Court. See supra Part

III.A. But even if Plaintiffs’ speculation were right, their claims would fail on the merits.

        A.       Plaintiffs’ Anderson-Burdick Claims Fail

        Plaintiffs challenge HB 25 under the Anderson-Burdick framework. See ECF 1 ¶¶ 84–95 (Counts

I and II). This challenge fails as a matter of law. The Anderson-Burdick test requires a court to:

             (1) consider the character and magnitude of the asserted injury to the rights protected by
                 the First and Fourteenth Amendments that the plaintiff seeks to vindicate; then
             (2) identify and evaluate the precise interest put forward by the State as justifications for
                 the burden imposed by its rule; and finally
             (3) weigh the character and magnitude of the asserted injury against the precise interests
                 put forward by the State, taking into consideration the extent to which those interests
                 make it necessary to burden the plaintiff ’s rights.

Voting for Am., Inc. v. Steen, 732 F.3d 382, 387–88 (5th Cir. 2013) (citing Anderson v. Celebrezze, 460 U.S.

780, 789 (1983)); Burdick v. Takushi, 504 U.S. 428, 434 (1992)). “[S]evere” restrictions on voters’ rights

are subject to strict scrutiny and must be narrowly drawn to advance a compelling state interest.


20National Conference of State Legislatures, Straight Ticket Voting States (Mar. 25, 2020), https://
www.ncsl.org/research/elections-and-campaigns/straight-ticket-voting.aspx (last visited Apr. 8, 2020).


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Burdick, 504 U.S. at 434. “Lesser burdens, however, trigger less exacting review, and a State’s important

regulatory interests will usually be enough to justify reasonable, nondiscriminatory restrictions.”

Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358 (1997) (quotation omitted).

        Plaintiffs challenge HB 25 on its face, so they must plausibly allege that the statute lacks a

“plainly legitimate sweep,” Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 202 (2008) (plurality), and

“that no set of circumstances exists under which the Act would be valid,” United States v. Salerno, 481

U.S. 739, 745 (1987). But Plaintiffs do not allege that HB 25 will burden the rights of all voters in all

counties. See ECF 16 ¶ 43 (complaining the Legislature did not adopt an amendment that would have

limited HB 25 to counties with fewer than twenty-five ballot items).

        HB 25 satisfies Anderson-Burdick. It imposes at most a de minimis burden and furthers weighty

state interests. But even if HB 25 were likely to cause problems in some places (it is not), Plaintiffs’

facial claim would fail.

                1.         HB 25 Does Not Burden the Right to Vote

        HB 25 does not burden anyone’s right to vote. It simply channels votes through individual

selections. As the American Civil Liberties Union of Pennsylvania has explained, “eliminating the

straight party voting option” does not create “a barrier to voting,” and “[n]o one will lose the right to

vote because of [it].”21 To the extent having to make individual selections is a burden, it represents no

more than “the usual burdens of voting.” Crawford, 553 U.S. at 198 (plurality); id. at 209 (Scalia, J.,

concurring in the judgment). Any burden is also neutral and non-discriminatory because all voters will

now make individual selections.

        Moreover, Plaintiffs ignore crucial context. Plaintiffs argue lines to vote will be a problem. Of

course, lines are a potential issue in any election, but Texas law mitigates those concerns. For example,


21 Reggie Shuford, This is Why the ACLU-PA Supports Legislation Reforming our Election Laws, PENN. CAPITAL-
STAR (Oct. 30, 3019), https://www.penncapital-star.com/commentary/this-is-why-the-aclu-pa-supports-
legislation-reforming-our-election-laws-opinion/ (last visited Mar. 10, 2020).


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Texas provides nearly two weeks of early voting in most elections. See Tex. Elec. Code § 85.001(a).

Texas has an expansive early voting framework, including weekend voting in the large counties on

which Plaintiffs focus. See id. § 85.006(d)–(e). Of course, local officials have discretion to increase early

voting capacity as needed. Id. § 51.003 (procuring and allocating election supplies); id. § 85.006(a)–(c)

(weekend voting); id. § 85.062 (additional polling places); id. § 123.031 (acquiring voting system

equipment); id. § 125.001 (allocating voting machines). Plaintiffs do not dispute that local officials can

and do make use of these powers. Texas also allows various people to vote by mail, see id. § 82.001–

.004, which reduces demand for in-person polling places. By contrast, some States do not allow early

voting at all or do not allow it on weekends.22

        Plaintiffs insultingly suggest that minority voters must rely on straight ticket voting due to

“lower educational attainment.” ECF 16 ¶ 10. The Secretary completely disagrees with their suggestion

that minority voters are not capable of making individual selections. At any rate, Plaintiffs provide no

plausible factual allegations to support their conclusory assertion. Making individual selections is

simple. Voters do it across the country, and Texans already do it in primary and nonpartisan elections.

Plaintiffs’ contention that minority voters are not sufficiently educated to make individual selections

is unfounded and implausible on its face.

        To the extent a voter suffers from “lower educational attainment,” Texas law helps. ECF 16

¶ 10. Voters who cannot read a ballot can have their ballot read to them. See Tex. Elec. Code § 64.031–

64.032. Voters who need an interpreter can bring one. Id. § 61.034. Voters who want more time can

review the “sample ballot [posted] in one or more locations in the polling place.” Id. at § 62.012.

        In short, Plaintiffs have not plausibly alleged that HB 25 will burden anyone’s right to vote.

They certainly have not alleged it creates a severe burden in all applications (as is necessary for a facial



22State Laws Governing Early Voting, NCSL, https://www.ncsl.org/research/elections-and-campaigns/early-
voting-in-state-elections.aspx (last visited Mar. 12, 2020).


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claim) or when considered “categorically” rather than based on “the peculiar circumstances of

individual voters” (as is necessary for all claims). Crawford, 553 U.S. at 206 (Scalia, J., concurring in the

judgment).

                2.       HB 25 Furthers Important State Interests

        Texas, like forty-three other states, decided “that it is better if voters are encouraged or

required to make individual assessments of candidates, rather than mass choices.” Mich. State, 749 F.

App’x at 346 (6th Cir. 2018) (Boggs, J.). “That choice is not an arbitrary one.” Id. It “is supported by

good policy reasons.” Id. at 355 (Kethledge, J., concurring).

        More-Informed Voting: “Democracy depends on a well-informed electorate.” Buckley v. Valeo,

424 U.S. 1, 49 n.55 (1976). Straight ticket voting undermines that interest. It “pulls a voter’s attention

away from down-ballot candidates for certain offices that most directly affect the voter” and

“discourages a voter from researching all the candidates on the ballot.”23 With straight ticket voting, a

voter chooses numerous candidates based on only a single piece of information: party affiliation. But

there is more to a candidate than party affiliation. Under HB 25, more voters will consider additional

information, like relevant news coverage and campaign materials.

        Better Qualified Candidates: Straight ticket voting helps unqualified candidates. First, it sometimes

leads voters to select a candidate who they would not have selected if they had considered the race

individually. Second, straight ticket voting discourages qualified candidates from running for office in

the first place. With straight ticket voting, relatively few voters give any consideration to the

qualifications of individual down-ballot candidates. And to the extent qualifications for office are not

helpful to winning election, better qualified candidates are given less reason to run.

        Reducing Roll Off: Straight ticket voting “causes voters to miss out in casting votes in



23      Bill     Analysis,        TEX.     HOUSE        COMMITTEE      REPORT,               available     at
https://www.legis.state.tx.us/tlodocs/85R/analysis/pdf/HB00025H.pdf#navpanes=0.


                                                     22
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nonpartisan races or propositions.”24 Voters who stop reading the ballot after selecting a straight ticket

option fail to vote on nonpartisan propositions and amendments down ballot. Eliminating straight

ticket voting reduces the risk voters will accidentally overlook non-partisan down-ballot items. See One

Wis. Inst., Inc. v. Thomsen, 198 F. Supp. 3d 896, 946 (W.D. Wis. 2016).

         Making Elections More Competitive: HB 25 also benefits Texans by making third-party and

independent candidates more viable. Representatives from the League of Independent Voters, the

Green Party of Texas, and the Libertarian Party all testified in favor of HB 25.25 As Representative

Justin Amash, an Independent, explained, “Straight-ticket voting makes it prohibitive to run outside

of the major parties.”26 Thus, the elimination of straight ticket voting is beneficial for the voters who

prefer third-party and independent candidates. It also helps everyone else. HB 25 makes incumbents

more susceptible to third-party challenges, which increases their accountability to voters.

         The legitimacy of these interests is widely recognized. In Utah, for example, legislators from

both parties have sponsored a bill repealing straight ticket voting. The Democratic sponsor explained

that eliminating straight ticket voting would “encourage people to learn more about the candidates”

and “result[ ] in more informed voters.” According to her, straight ticket voting has confused Utah

voters into thinking “they don’t need to look at the rest of their ballots.”27

         Plaintiffs’ unsupported assertion that the Legislature acted with partisan intent is both untrue



24       Bill      Analysis,       Tex.        House          Research          Organization,          available     at
https://hro.house.texas.gov/pdf/ba85r/hb0025.pdf#navpanes=0.
25   See Witness List for HB 25, House Elections Committee (Mar. 13, 2017),
https://www.legis.state.tx.us/tlodocs/85R/witlistbill/pdf/HB00025H.pdf#navpanes=0.
26 Matt Welch, Justin Amash: “Straight-Ticket Voting Makes it Prohibitive to Run Outside of the Major Parties”, REASON

(Aug. 30, 2018), https://reason.com/2018/08/30/justin-amash-straight-ticket-voting-make/.
27 Mori Kessler, “This is an Outdated Method”; Bill Repealing Straight Ticket Voting Heads to Senate, ST. GEORGE

NEWS (Mar. 3, 2020), https://www.stgeorgeutah.com/news/archive/2020/03/03/mgk-lgl20-this-is-an-
outdated-method-bill-repealing-straight-ticket-voting-heads-to-senate/#.XmpA8qhKiUk;                              Roger
McDonough, Six Years Later, Lawmaker Still Trying to Eliminate Straight Party Ballot Option in Utah, KCPW (Mar.
1, 2020), http://kcpw.org/blog/local-news/legislative-coverage/2020-01-30/six-years-later-lawmaker-still-
trying-to-eliminate-straight-party-ballot-option-in-utah; see HB 70 Repeal of Single-Mark Straight Ticket Voting,
https://le.utah.gov/~2020/bills/static/HB0070.html (last visited Mar. 12, 2020).


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and irrelevant. See ECF 16 ¶ 48. “[I]f a nondiscriminatory law is supported by valid neutral

justifications, those justifications should not be disregarded simply because partisan interests may have

provided one motivation for the votes of individual legislators.” Crawford, 553 U.S. at 204 (plurality).

         Nor should the State’s interests be ignored because this case is at the pleading stage. Libertarian

Party of Va. v. Alcorn, 826 F.3d 708, 719 (4th Cir. 2016) (rejecting the argument that the court “may

not weigh [the State’s] interests without discovery”). The Secretary need not provide “elaborate,

empirical verification of the weightiness of the State’s asserted justifications.” Timmons, 520 U.S. at

364. Thus, courts in this Circuit frequently dismiss Anderson-Burdick claims at the pleading stage. See,

e.g., LULAC v. Abbott, 369 F. Supp. 3d 768, 781–84 (W.D. Tex. 2019); Kennedy v. Pablos, No., 1:16-cv-

1047, 2017 WL 2223056, at *3–5 (W.D. Tex. May 18, 2017); Faas v. Cascos, 225 F. Supp. 3d 604, 607

(S.D. Tex. 2016); Meyer v. Texas, No., 4:10-cv-3860, 2011 WL 1806524, at *3–7 (S.D. Tex. May 11,

2011).

                 3.      This Court Should Follow the Uniform Precedent Upholding Repeals of
                         Straight Ticket Voting

         Repealing straight ticket voting imposes no serious burden on voters but advances important

state interests. That is why numerous courts have upheld laws like HB 25.

         Wisconsin: In One Wisconsin Institute, the court upheld Wisconsin’s repeal of straight ticket voting

against a challenge brought by some of the same Plaintiffs, represented by some of the same counsel.

See 198 F. Supp. 3d at 906, 945–46. The One Wisconsin plaintiffs made the same argument Plaintiffs

make here: that the repeal of straight ticket voting creates long voting lines and voter confusion and

thus “burdens the right to vote, particularly for voters with lower levels of educational attainment.”

Id. at 945–46. The court found the plaintiffs’ claims speculative. See id. It noted that eliminating straight

ticket voting “creates only a slight burden on the right to vote, even among populations with lower

levels of educational attainment or who have less time to spend voting.” Id. at 945. The court found

that repealing straight ticket voting advanced Wisconsin’s important interests of: (1) “decreas[ing] the


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chance of a voter selecting a straight-ticket option and then voting for candidates on the rest of the

ballot”; (2) “encourage[ing] voters to become more informed about candidates or issues”; and

(3) “ensur[ing] that voters do not accidentally overlook items on a ballot.” Id.

        Illinois: Illinois’ repeal of straight ticket voting was upheld in Orr v. Edgar, 298 Ill. App. 3d 432,

436–37 (1998). Applying the rational basis test, the court concluded:

        [T]he legislation in question does not infringe upon the right to vote. Rather, the
        legislation affects the manner in which citizens exercise their right to vote. The Act
        does not prohibit voters from voting a straight-party ballot. Indeed, an individual voter
        still has the right to cast a ballot entirely for candidates of one political party. The Act
        only dictates the manner in which the voter may select candidates.

Id. at 438. The court found that the repeal was rationally related to Illinois’ legitimate interests of: (1)

increasing voter awareness; (2) selecting better qualified candidates by the political parties; and (3)

increasing involvement by third-party groups in the political process. Id. at 439.

        New Mexico & Michigan (State Court): In these cases, minority or independent parties challenged

the laws that prevented them from benefiting from straight ticket voting while allowing major-party

candidates to benefit. See Woodruff v. Herrera, No. 1:09-cv-449, 2010 WL 11505703, at *2 (D.N.M. Feb.

1, 2010); McDonald v. Grand Traverse Cty. Election Comm’n, 255 Mich. App. 674, 676–77 (2003). Both

courts rejected the challenges under the Anderson-Burdick test and found that the burden of voting

without a straight ticket option was slight. See Woodruff, 2010 WL 11505703, at *4 (stating that

“cast[ing] . . . votes individually rather than as a straight party vote” required only “slightly more

effort”); McDonald, 255 Mich. App. at 685 (noting that “any voter who desired to vote for McDonald

could do so”). The courts found that the States’ important interests in maintaining reasonable

regulations of ballots and elections outweighed the minimal burdens their straight ticket voting laws

placed on voting rights. Woodruff, 2020 WL 11505703, at *5; McDonald, 255 Mich. App. at 687–88.

        Michigan (Federal Court): One federal court found Michigan’s repeal of straight ticket voting

unconstitutional, see Mich. State A. Philip Randolph Inst. v. Johnson, 326 F. Supp. 3d 532 (E.D. Mich.



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2018), but the Sixth Circuit quickly vacated the opinion and criticized its reasoning. See Mich. State A.

Philip Randolph Inst. v. Johnson, No. 18-1910, 2019 WL 4145547 (6th Cir. Jan. 14, 2019) (vacating

opinion); Mich. State, 749 F. App’x at 344 (“The district court’s opinion is extensive, but its

underpinnings are quite weak.”); id. at 354 (noting “very serious problems with both the factual

underpinnings and the legal analysis of the district court’s opinion”).

        The court explained that the burden—requiring voters to take “what would be at most very

small additional time to register their choices”—“is very small.” Id. at 349. It also noted the strong

“public interest in allowing states to control their own elections . . . as the Constitution itself makes

clear.” Id. at 349. Numerous States have determined that voters should be “encouraged or required to

make individual assessments of candidates.” Id. at 346. And a State’s attempt to encourage a more

informed electorate should not be discarded lightly. Id. at 346, 349.

        Finally, overturning HB 25 due to potential increased voting time would mire courts in

litigation about numerous other State policy choices. As the Sixth Circuit explained:

        [A]ny number of policy decisions might influence the length of time it takes an
        individual voter to vote . . . . Having judicial elections[,] . . . [h]aving non-partisan
        elections, . . . [and] [a]llowing citizens to vote on legislation or propositions . . . add[ ]
        to voting time. Deciding how many local offices to elect can add to that time: some
        states elect coroners, jailers, drain commissioners, and surveyors on partisan ballots.
        All of these are policy choices a state may legitimately make, and yet all would be
        subject to attack if individual voting time were a consideration that courts could use
        to strike down legislation.

Id. at 345. The Sixth Circuit concluded Michigan’s repeal imposed a minimal burden on voting rights

and thus warranted the lowest level of scrutiny under the Anderson-Burdick test. Id. at 350. It then

denied the plaintiffs’ challenge to Michigan’s repeal bill on the grounds that “Michigan . . . has shown

far more than a rational basis for its decision.” Id.

        Courts have consistently upheld state laws repealing straight ticket voting. There is no reason

to stray from these precedents here.




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        B.      Plaintiffs’ Section 2 Results Claim Fails

        Plaintiffs’ Section 2 “results test” claim fails as a matter of law. See ECF 16 ¶¶ 97–103. They

have not plausibly alleged a violation as to any Texas voters, and they certainly have not “establish[ed]

that no set of circumstances exists under which [HB 25] would be valid.” Salerno, 481 U.S. at 745.

                1.       HB 25 Is Lawful

        As a threshold matter, the abolition of straight ticket voting is not a “voting qualification or

prerequisite to voting or standard, practice, or procedure” covered by Section 2. 52 U.S.C. § 10301(a).

As the Sixth Circuit noted, “[t]he language of the statute alone can hardly be read to cover a change

in ballot format that applies to all voters, that keeps no one away from the polls, and that prevents no

one from registering their vote.” Mich. State, 749 F. App’x at 353.

        Section 2 does not stretch so far. In Lucas v. Townsend, a Georgia school board wanted to hold

a bond election. See 698 F. Supp. 909 (M.D. Ga. 1988). It decided to submit a single question to the

voters: whether to approve a $29 million bond covering three separate projects. See id. at 910. The

plaintiffs wanted the projects submitted as three separate ballot questions and argued that the choice

between those alternatives should have been precleared under Section 5. See id. The district court

rejected that claim because “the form or structure of a question on a bond referendum is not a

standard, practice or procedure affecting voting.” Id. at 912.28 “The discretionary decision to submit

one or more questions to the electorate is one properly left to the political process.” Id. The Supreme

Court summarily affirmed. See 493 U.S. 1052 (1990). The same principle applies here. Whether voters

select candidates individually or in the aggregate (through straight ticket voting) is no more a “standard,

practice, or procedure” than whether voters approve bond projects individually or in the aggregate.29



28 The text of Section 5—“voting qualification or prerequisite to voting, or standard, practice, or procedure
with respect to voting”—is materially identical to the text of Section 2. 52 U.S.C. § 10304(a)
29 Confirming this analysis, the Attorney General has promulgated regulations explaining the meaning of

“standard, practice, or procedure” in Section 5, but those regulations give no hint that they would include a


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         In any event, HB 25 would not violate Section 2. Under Section 2, a plaintiff must plausibly

allege that: (1) the challenged law is “responsible for minority voters’ inability to elect [their preferred]

candidates,” Thornburg v. Gingles, 478 U.S. 30, 50 (1986), (2) minority voters’ inability to elect their

preferred candidates is “on account of race,” 52 U.S.C. § 10301(a), and (3) “under the ‘totality of

circumstances,’ [minority voters] do not possess the same opportunities to participate in the political

process and elect representatives of their choice enjoyed by other voters,” LULAC, Council No. 4434

v. Clements, 999 F.2d 831, 849 (5th Cir. 1993) (en banc). Plaintiffs cannot satisfy any of these

requirements.

         First, Plaintiffs have not plausibly alleged that HB 25 is “responsible for minority voters’

inability to elect [their preferred] candidates.” Gingles, 478 U.S. at 50. Plaintiffs do not allege that

minority voters were able to elect candidates of their choice before HB 25 or that they will be unable

to do so when it goes into effect. This is a fatal flaw. “Unless minority voters possess the potential to

elect representatives in the absence of the challenged structure or practice, they cannot claim to have

been injured by that structure or practice.” Id. at 50 n.17. Because Plaintiffs never allege HB 25 will

cause minority voters to lose the ability to elect their candidates of choice, their Section 2 claim fails.

         Instead of alleging HB 25 will prevent minority voters from electing their candidates of choice,

Plaintiffs rely on vague suggestions of “disparate[ ] impacts.” ECF 16 ¶ 70. But any impact that does

not affect minority voters’ ability to vote or to elect candidates of choice cannot support a Section 2

claim. Moreover, Plaintiffs have not plausibly alleged a disparate impact. See infra Part IV.C.

         Second, even if Plaintiffs could establish that minority voters face a “lack of success at the

polls,” they would also need to plausibly allege that “the reasons for, or causes of, these electoral

losses” are “racial,” not “partisan.” LULAC, 999 F.2d at 853–54. Courts must be careful not to



decision on whether to use straight ticket voting. Instead, they list examples like “the eligibility and qualification
procedures for independent candidates.” 28 C.F.R. § 51.13(h).


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“loose[ ] § 2 from its racial tether.” Id. at 850. Political disadvantages are not actionable unless they are

“on account of race.” Id. at 854; 52 U.S.C. § 10301(a). “The Voting Rights Act does not guarantee that

nominees of the Democratic Party will be elected, even if black voters are likely to favor that party’s

candidates. Rather, § 2 is implicated only where Democrats lose because they are black, not where

blacks lose because they are Democrats.” LULAC, 999 F.2d at 854 (quotation and citation omitted).

        Third, the totality-of-the-circumstances analysis cuts against Plaintiffs. This “inquiry . . . is not

limited to factors listed in the legislative history of the Voting Rights Act.” Id. at 871. “The weight, as

well as tenuousness, of the state’s interest is a legitimate factor in analyzing the totality of

circumstances.” Id. And the strong state interests discussed above support HB 25 here too. See supra

Part IV.A.2.

        The nearly nationwide consensus against straight ticket voting also favors the Secretary. In

LULAC, the Fifth Circuit emphasized that twenty-five other States had a rule similar to Texas’s. See

999 F.2d at 872. Here, forty-four states agree. That further “bolster[s]” the Secretary’s position. Id.

        Moreover, Plaintiffs’ discussion of the legislative-history factors is not persuasive. They

improperly extrapolate from “isolated incidents.” Id. at 879. They implausibly interpret other incidents.

For example, Plaintiffs accuse a Hispanic elected official of running an anti-Hispanic campaign. See

ECF 16 ¶ 81. Plaintiffs claim certain groups are “underrepresented in the State’s elected offices.” ECF

16 ¶ 83. But they base their numbers on total percentage of the population, not the relevant “pool of

qualified candidates.” LULAC, 999 F.2d at 888. Plaintiffs also omit the fact that one of Texas’s U.S.

Senators is Hispanic, meaning that, according to Plaintiffs’ own framework, Hispanic voters are

“overrepresented.” in federal Senate seats.

        In their totality-of-the-circumstances allegations, Plaintiffs also rely on State laws that have

been upheld as constitutional. For example, Plaintiffs claim that having statewide elections for judges

on Texas’s highest courts “enhance[s] the opportunity for discrimination.” ECF 16 ¶ 84. But a federal



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court has specifically rejected that claim. See Lopez v. Abbott, 339 F. Supp. 3d 589, 619 (S.D. Tex. 2018).

         Incorrectly interpreting Section 2 to prohibit HB 25 would take Section 2 beyond the scope

of Congress’s “power to enforce [the Fifteenth Amendment] by appropriate legislation.” U.S. Const.

amend. XV, § 2. At that point, Section 2 would represent “a substantive change in constitutional

protections under the guise of enforcement.” Veasey v. Abbott, 830 F.3d 216, 316 (5th Cir. 2016) (Jones,

J., concurring in part and dissenting in part) (quotation and citation omitted); see also LULAC v. Abbott,

369 F. Supp. 3d 768, 787 (W.D. Tex. 2019), aff’d, 951 F.3d 311 (5th Cir. 2020) (“If Section 2 permitted

or required a remedy of proportional representation in the Electoral College for political parties it

would not be ‘congruent or proportional’ to the violation of the asserted constitutional right . . . .”).

                  2.       Plaintiffs Do Not Have a Private Cause of Action

         Plaintiffs’ Section 2 claim fails for an additional, independent reason: The Voting Rights Act

does not provide them with a private cause of action. The Supreme Court has often “[a]ssum[ed], for

present purposes, that there exists a private right of action to enforce” Section 2. City of Mobile v. Bolden,

446 U.S. 55, 60 (1980) (plurality); see also Morse v. Republican Party of Va., 517 U.S. 186, 288 n.21 (1996)

(Thomas, J., dissenting) (noting the Court has “inadvertently, and perhaps incorrectly, allowed private

suits to proceed under” Section 2). Multiple minority opinions have suggested, in dicta, that private

plaintiffs can enforce Section 2, but the claims implicated a denial or abridgment of an individual’s

right to vote. See Morse, 517 U.S. at 232-33 (1996) (minority opinion of Stevens, J.) (quoting legislative

history and discussing “a right to vote”); id. at 240 (Breyer, J., concurring in the judgment) (similar).

That implied cause of action, if it exists, does not extend to Plaintiffs.30



30 Moreover, Morse’s reasoning is inconsistent with the later majority opinion in Sandoval, which limited its

“search for Congress’s intent [to] the text and structure of” the statute. 532 U.S. at 288. “[D]ecisions before
Sandoval frequently implied private rights of action without rigorous analysis; they did so by making a somewhat
cursory inspection of the statute and its legislative history.” Conservation Force v. Delta Air Lines, Inc., 190 F. Supp.
3d 606, 616 (N.D. Tex. 2016), aff’d, 682 F. App’x 310 (5th Cir. 2017) (affirming “[e]ssentially for the reasons
stated in the district court’s comprehensive and well-reasoned opinion”). Such pre-Sandoval opinions are “are


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        The individual Plaintiffs do not allege they are registered voters, do not allege they intend to

vote in future elections, and do not bring this suit in their (unalleged) capacities as voters. They do not

allege that their rights to vote will be denied or abridged, and they cannot rely on the rights of third-

party voters. See supra Part III.D. An implied cause of action is available only to “the particular

plaintiff” in whom “the statute creates rights.” Delancey v. City of Austin, 570 F.3d 590, 593 (5th Cir.

2009) (quoting Equal Access for El Paso, Inc. v. Hawkins, 509 F.3d 697, 701 (5th Cir. 2007)).

        Section 2 does not imply a private cause of action for non-voters. In Alexander v. Sandoval, 532

U.S. 275, 287 (2001), the Supreme Court rejected its previous, looser approach to inferring causes of

action. Today, “private rights of action to enforce federal law must be created by Congress.” Id. at

286. “The judicial task is to interpret the statute Congress has passed to determine whether it displays

an intent to create not just a private right but also a private remedy.” Id. Unless Congress expresses

that intent, “a cause of action does not exist and courts may not create one, no matter how desirable

that might be as a policy matter, or how compatible with the statute.” Id. at 286–87.

        First, Section 2 contains no indication that Congress intended to create a private right, much

less a private remedy, for non-voters. The statute’s text is focused on the governmental officials it

regulates: “No voting qualification or prerequisite to voting or standard, practice, or procedure shall

be imposed or applied by any State or political subdivision in a manner which results in a denial or abridgement

of the right of any citizen of the United States to vote on account of race or color . . . .” 52 U.S.C.

§ 10301(a) (emphasis added). “Statutes that focus on the person regulated rather than the individuals

protected create no implication of an intent to confer rights on a particular class of persons.” Sandoval,

532 U.S. at 289 (quotation omitted). Section 2 “is framed in terms of the obligations imposed on the

regulated party” (government officials) while voters are “referenced only as an object of that



not binding nor persuasive.” Id. (declining to follow a pre-Sandoval Fifth Circuit opinion). Under the Supreme
Court’s current approach, Section 2 does not create any private cause of action.


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obligation.” Logan v. U.S. Bank Nat’l Ass’n, 722 F.3d 1163, 1171 (9th Cir. 2013); see also Conservation

Force v. Delta Air Lines, Inc., 190 F. Supp. 3d 606, 616 (N.D. Tex. 2016), aff’d, 682 F. App’x 310 (5th

Cir. 2017). Non-voters like Plaintiffs are not mentioned at all. Section 2 therefore does not confer

rights on Plaintiffs “in clear and unambiguous terms.” Delancey, 570 F.3d at 593 (quotation omitted).

        Second, Section 2 does not create private remedies for non-voters. Instead, Congress

authorized civil and criminal enforcement actions by the federal government. See 52 U.S.C. § 10308.

“The express provision of one method of enforcing a substantive rule suggests that Congress intended

to preclude others.” Sandoval, 532 U.S. at 290.

        Even pre-Sandoval precedent does not help Plaintiffs. In Allen v. State Bd. of Elections, the

Supreme Court held that Section 5 of the Voting Rights Act created a private cause of action, but that

decision did not analyze Section 2 or non-voters. See 393 U.S. 544, 557 (1969). The Court relied on

the fact that Section 5 was “passed to protect a class of citizens,” i.e., voters. Id. Of course, Sandoval

abandoned that loose, legislative-history-based approach. See Sandoval, 532 U.S. at 287. Indeed, the

Supreme Court itself recognized as much when it listed Allen as an example of the now-abandoned

“ancien regime.” Ziglar v. Abbasi, 137 S. Ct. 1843, 1855 (2017). But even under Allen’s approach, there is

no reason to think Congress “passed [Section 2] to protect” non-voters.

        C.       HB 25 is Neutral and Does Not Discriminate

        Plaintiffs also claim HB 25 intentionally discriminates on the basis of race. See ECF 16 ¶¶ 104–

14. Nothing could be further from the truth. Plaintiffs cannot overcome “the presumption of

legislative good faith.” Abbott v. Perez, 138 S. Ct. 2305, 2324 (2018).

        HB 25 applies equally to everyone. It does not discriminate on the basis of race or anything

else. After HB 25, no local official, regardless of race, will prepare a straight ticket ballot, and no voter,

regardless of race, will cast a straight ticket ballot.

        Indeed, Plaintiffs affirmatively plead the lack of discriminatory intent. Plaintiffs complain that



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the Legislature “turned a blind eye to concerns regarding this disparate impact on minority voters.”

ECF 16 ¶ 110. Of course, turning a blind eye to disparate impact is inconsistent with enacting a law

“because of, not merely in spite of, [the statute’s] adverse effects upon an identifiable group.” Ashcroft

v. Iqbal, 556 U.S. 662, 677 (2009) (quotation omitted).

        Discriminatory intent is particularly implausible here. HB 25 was the culmination of a

longstanding bipartisan push to eliminate straight ticket voting. Forty-three other States have adopted

the same policy. None of those laws have been held unconstitutional. The idea that Texas adopted

the same policy as its sister States, but did so for uniquely racial reasons, is implausible, especially given

the longstanding bipartisan push to eliminate straight ticket voting.

        Plaintiffs attempt to lower their burden on causation. They claim that “[o]ne of the motivating

factors behind HB 25 was to discriminate against African-American and Hispanic Texans.” Id. ¶ 109.

Plaintiffs must plausibly allege but-for causation, not mere “motivating factor” causation. The

motivating-factor standard does not apply to claims brought under Section 1983 or the Voting Rights

Act. See Comcast Corp. v. Nat’l Ass’n of African Am.-Owned Media, No. 18-1171, 2020 WL 1325816, at *6

(U.S. Mar. 23, 2020) (rejecting application of the motivating-factor analysis to Section 1981 claims).

Indeed, the text suggests the opposite. Language like “on account of,” which is found in both the

Fifteenth Amendment and the Voting Rights Act, “indicate[s] a but-for causation requirement.” Id. at

*4; see U.S. Const. amend. XV, § 1; 52 U.S.C. § 10301(a).

        Regardless, Plaintiffs have not plausibly alleged that race was a motivating factor. Their legal

conclusions are “bare assertions” that “amount to nothing more than a formulaic recitation of the

elements of a constitutional discrimination claim, namely, that petitioners adopted a policy because

of, not merely in spite of, its adverse effects upon an identifiable group. As such, the allegations are

conclusory and not entitled to be assumed true.” Iqbal, 556 U.S. at 681 (quotations omitted).

        Plaintiffs invoke the Arlington Heights factors, but their allegations are implausible. See Vill. of



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Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252 (1977). Plaintiffs do not plausibly allege facts

supporting a finding of disparate impact. See ECF 16 ¶¶ 100–02. And there is no disparate impact on

minority voters—every voter, regardless of race, must make individual selections. To the extent that

is a burden, it is an equal one.

        Even limiting the analysis to voters who previously used straight ticket voting, as Plaintiffs

suggest, does not produce a disparate impact. Plaintiffs concede straight ticket voting was widely used

by voters of all races. See ECF 16 ¶ 26 (alleging “STV is utilized by a vast majority of Texans”).

Plaintiffs do not (and cannot) allege that most users of straight ticket voting were racial minorities.

That precludes a finding of disparate impact.

        In Personnel Administrator of Massachusetts v. Feeney, the plaintiffs challenged a hiring preference

given to veterans as discriminatory against women. 442 U.S. 256 (1979). The Supreme Court rejected

that claim because even though “few women benefit from the preference,” the group disadvantaged

“is not substantially all female.” Id. at 275. The fact that “significant numbers of nonveterans are men,

and all nonveterans—male as well as female—are placed at a disadvantage” precludes “the inference

that the statute is but a pretext for preferring men over women.” Id.

        Similarly, in Metropolitan Housing Development Corp. v. Village of Arlington Heights, the court held

that a zoning decision precluding a public housing development did not have a disparate impact on

racial minorities. 558 F.2d 1283 (7th Cir. 1977). The court emphasized “that the class disadvantaged

by the Village’s action was not predominantly nonwhite, because sixty percent of the people in the

Chicago area eligible for federal housing subsidization in 1970 were white.” Id. at 1291.

        That the Village’s action affected “a significantly greater percentage of the nonwhite people in

the Chicago area than of the white people in that area” was not enough to establish a disparate impact.

Id. In this case, Plaintiffs’ allegation (that the percentage of minority voters who used straight ticket

voting is higher than the percentage of white voters who did so) is similarly irrelevant. See ECF 16



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¶ 28. Because “the class [allegedly] disadvantaged” is “not predominantly nonwhite,” the allegation of

disparate impact is “relatively weak” and does not support liability. Arlington Heights, 558 F.2d at 1291.

        Regardless of how one slices the numbers, straight ticket voting is not about race. As the Sixth

Circuit has explained, “actual use of straight-ticket voting is strongly correlated to the partisanship of

an area, but not to race directly.” Mich. State, 749 F. App’x at 348. In the end, “[t]oo many [white

voters] are affected by [HB 25] to permit the inference that the statute is but a pretext for preferring

[white voters] over [minority voters].” Feeney, 442 U.S. at 275.

        Indeed, it has been argued that straight ticket voting hurt the electoral prospects of minority

candidates: “[U]ninformed and straight-ticket voting along party lines can, and in this case does,

reinforce minority voters’ unequal access to the political process.” LULAC, 999 F.2d at 912 (King, J.,

dissenting). With judges declaring straight ticket voting bad for minority voters, it is implausible that

the Legislature eliminated straight ticket voting to harm those same minority voters.

        The Complaint details the arguments that opponents of HB 25 raised in the Legislature. See,

e.g, ECF 1 ¶¶ 13, 38–44. But courts “do not judge the intention of a bill’s supporters by the

characterization of its opponents.” Mich. State, 749 F. App’x at 351. “[T]he statements of those

opposing any bill cannot be taken as a sign that the proponents intended the predicted parade of

horribles.” Id.

        Plaintiffs argue “the Legislature departed from its usual practice” because HB 25 was heard in

the Senate Business and Commerce Committee and “because the author of HB 25 failed to take a

position on or answer questions regarding proposed amendments.” ECF 16 ¶ 111. These supposed

departures from normal procedures cannot support an inference of discriminatory motive because

Plaintiffs failed to allege what the “normal procedures” would be for this kind of high-priority bill




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when the legislative minority has signaled it intends to challenge the law in court.31

        D.      Plaintiffs’ Viewpoint-Discrimination Claim Fails

        Plaintiffs also press a viewpoint-discrimination claim. Relying on Carrington v. Rash, 380 U.S.

89 (1965), Plaintiffs rely on a concept called “partisan fencing.” See ECF 16 ¶¶ 115–20. “Recent cases,

however, have approached partisan fencing claims skeptically.” Feldman v. Ariz. Sec’y of State’s Office,

208 F. Supp. 3d 1074, 1094 (D. Ariz. 2016). And Plaintiffs’ claim fails for multiple reasons.

        As an initial matter, Carrington does not apply because “none of the challenged provisions

categorically bar any citizen of [Texas] from voting.” One Wis. Inst., 198 F. Supp. 3d at 928. “Carrington

dealt with an outright prohibition on voting.” Id. No one disputes HB 25 is not such a prohibition.

Plaintiffs cannot bring a “partisan fencing” challenge to a statute that does not fence out anyone, much

less on the basis of party.

        Even if Plaintiffs could bring a Carrington claim, it would be subject to “the Anderson-Burdick

balancing framework.” Feldman, 208 F. Supp. 3d at 1094; see One Wis. Inst., 198 F. Supp. 3d at 928–29;

Ohio Org. Collaborative v. Husted, 189 F. Supp. 3d 708, 767 (S.D. Ohio), rev’d on other grounds, 834 F.3d

620 (6th Cir. 2016). Plaintiffs cannot satisfy Anderson-Burdick for the reasons explained above. See supra

Part IV.A.

        Plaintiffs make much of their contention that some supporters of HB 25 thought it would

help Republican candidates. See ECF 1 ¶¶ 50–53. That is irrelevant. “[I]f a nondiscriminatory law is

supported by valid neutral justifications, those justifications should not be disregarded simply because

partisan interests may have provided one motivation for the votes of individual legislators.” Crawford,

553 U.S. at 204 (plurality). “[A] provision is not unconstitutional if the legislators who passed it were

partly motivated by partisan gain, so long as there were sufficient valid justifications.” One Wis. Inst.,



31Insofar as Plaintiffs bring Count IV under the VRA, they lack a private cause of action for the reasons
explained in Part IV.B.2.


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198 F. Supp. 3d at 929; see also Mich. State, 749 F. App’x at 350; id. at 355 (Kethledge, J., concurring).

        Finally, Plaintiffs ask this Court to decide a non-justiciable political question. Sometimes “the

judicial department has no business entertaining [a] claim of unlawfulness—because the question is

entrusted to one of the political branches or involves no judicially enforceable rights.” Rucho v. Common

Cause, 139 S. Ct. 2484, 2494 (2019) (quotation omitted). Such claims are nonjusticiable because they

are “outside the courts’ competence and therefore beyond the courts’ jurisdiction.” Id. “Among the

political question cases the Court has identified are those that lack ‘judicially discoverable and

manageable standards for resolving [them].’ ” Id. (quoting Baker v. Carr, 369 U.S. 186, 217 (1962)).

        Rucho held that partisan gerrymandering presented a political question. Plaintiffs’ “partisan

fencing” claim is analogous to Rucho’s “partisan gerrymandering” claim in three material ways. First,

“the Framers’ decision to entrust districting to political entities” precluded “hold[ing] that legislators

cannot take partisan interests into account.” Rucho, 139 S. Ct. at 2497. The same is true here. The

Framers entrusted ballot design to political entities, and that precludes holding that the Constitution

forbids any consideration of partisan interests. Second, courts cannot “even begin to answer” whether

partisan gerrymandering (or partisan ballot design) “has gone too far” unless they know the “fair”

baseline from which to measure departures. Id. at 2500–01. Third, in the gerrymandering context,

“fairness” can be defined in different ways, and “[t]here are no legal standards discernible in the

Constitution for making such judgments, let alone limited and precise standards that are clear,

manageable, and politically neutral.” Id. at 2500. So too here. Does fairness depend on how much

partisan intent (or how many other intents) are attributable to the Legislature? Does fairness turn on

the significance of the effects on voter turnout? The Constitution does not say.

V.      Laches and Unclean Hands Bar Plaintiffs’ Claims

        Finally, Plaintiffs are not entitled to the equitable relief they seek. “[T]he declaratory judgment

and injunctive remedies are equitable in nature, and other equitable defenses may be interposed.”



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Abbott Labs. v. Gardner, 387 U.S. 136, 155 (1967), abrogated on other grounds by Califano v. Sanders, 430 U.S.

99 (1977). Here, two equitable doctrines bar Plaintiffs’ claims: laches and unclean hands.

        “Laches is founded on the notion that equity aids the vigilant and not those who slumber on

their rights.” Nat’l Ass’n of Gov’t Emps. v. City Pub. Serv. Bd. of San Antonio, 40 F.3d 698, 708 (5th Cir.

1994) (quotation omitted). “The defense consists of three elements: (1) a delay on the part of the

plaintiff in instituting suit; (2) that is not excused; and (3) that results in undue prejudice to the

defendant’s ability to present an adequate defense.” Id. Each element is met here.

        Plaintiffs have certainly delayed instituting suit. The Governor signed HB 25 on June 1, 2017.

Plaintiffs could have challenged HB 25 years ago. Instead, they waited two years and nine months to

file suit. See White v. Daniel, 909 F.2d 99, 103 (4th Cir. 1990).

        Plaintiffs have no excuse for their delay. They are sophisticated parties represented by

sophisticated counsel. Cf. Nat’l Ass’n of Gov’t Emps., 40 F.3d at 709. Given their involvement in the

political process, Plaintiffs must have been aware of HB 25 and its alleged effects.

        And Plaintiffs’ inexcusable delay has prejudiced the Secretary. “Delay and prejudice are a

complimentary ratio: the more delay demonstrated, the less prejudice need be shown.” Marshall v.

Meadows, 921 F. Supp. 1490, 1494 (E.D. Va. 1996); see also White, 909 F.2d at 103 (“Given that plaintiffs’

delay is inexcusable and unreasonable, the County need not show the degree of prejudice that would

be required if the delay had been less aggravated.”). But in this case, the prejudice is serious.

        DSCC, DCCC, and TDP have filed numerous lawsuits against the Secretary in recent months.

See Miller v. Hughs, No. 1:19-cv-1071-LY (W.D. Tex.); Gilby v. Hughs, No. 1:19-cv-1063-LY (W.D.

Tex.); Tex. Democratic Party v. Hughs, No. 5:20-cv-8-OLG (W.D. Tex.); Stringer v. Hughs, 5:20-cv-46-

OLG (W.D. Tex.); Tex. Democratic Party v. State of Texas, No. D-1-GN-20-1610 (Tex. Dist. Ct.—Travis

Cty.). Trying to cram so many cases into a compressed timeframe before an election taxes public

resources and creates inefficiencies.



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        Moreover, the Secretary has already explained the benefits HB 25 gives the State. Losing those

benefits would be prejudice enough, but a last-minute change in the rules would have costs of its own.

Candidates have already begun campaigning for the 2020 general election. Political campaigns can

make different choices based on whether ballots will include a straight ticket option. Changing the

rules mid-campaign would undoubtedly disadvantage candidates and other political actors who have

already invested resources in strategies that depend on the lack of straight ticket voting. If Plaintiffs

had sued earlier, these harms probably would have been lessened.

        Plaintiffs’ claims are also barred by the doctrine of unclean hands, which precludes relief

“where some unconscionable act of one coming for relief has immediate and necessary relation to the

equity that he seeks in respect of the matter in litigation.” Keystone Driller Co. v. Gen. Excavator Co., 290

U.S. 240, 245 (1933). The doctrine of unclean hands “assumes ‘even wider and more significant

proportions’ where the matter in issue ‘concerns the public interest,’ for in such an instance the denial

of equitable relief ‘averts an injury to the public.’ ” United States v. Perez-Torres, 15 F.3d 403, 407 (5th

Cir. 1994) (quoting Precision Instrument Mfg. Co. v. Auto. Maint. Mach. Co., 324 U.S. 806, 815 (1945)).

        Here, Plaintiffs seek to use their own history of racial discrimination to support their claim for

equitable relief. Plaintiffs rely heavily on the tragic history of discrimination in this State. See, e.g., ECF

16 ¶ 71. Much of that discrimination was committed by—and for the benefit of—the Texas

Democratic Party. For example, Plaintiffs focus on the “white primary system.” Id. ¶¶ 71, 73. As

Plaintiffs admit, “the [Texas] Democratic Party swiftly banned African-American and Hispanic voters

from its primaries.” Id. ¶ 72. “[T]he resolution of the Democratic party of Texas extending the

privileges of membership to white citizens only” was racially discriminatory and held unconstitutional

in Smith v. Allwright, 321 U.S. 649, 661 (1944).

        That same Texas Democratic Party is a Plaintiff in this case. ECF 16 ¶ 23. The other Plaintiffs

are affiliated with TDP and purport to bring claims to advance TDP’s electoral interests. Id. ¶¶ 20–24



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(discussing “Democratic Party candidates” and “candidates of the Democratic party”).

        Unconstitutional racial discrimination committed by and for a Plaintiff certainly creates

unclean hands. It would be unconscionable to allow a Plaintiff with such unclean hands to secure

equitable relief on the basis of its previous unconstitutional discrimination.

        To be sure, the State also has responsibility for the unjustifiable history of discrimination in

Texas elections. Today, it consistently works to redress that history. Unclean hands nevertheless bars

Plaintiffs’ claims because “ ‘one tainted with inequitableness or bad faith . . .’ is barred from a court of

equity, ‘however improper may have been the behavior of the defendant.’ ” Alcatel USA, Inc. v. DGI Techs., Inc.,

166 F.3d 772, 794 (5th Cir. 1999) (quoting Precision Instrument, 324 U.S. at 814). Whether the State’s

past actions “may have been more reprehensible is immaterial.” Id. at 794 n.90. What matters here is

Plaintiffs’ efforts to secure equitable relief based on their own past constitutional violations.

                                               CONCLUSION

        The Secretary respectfully requests that the Court grant her motion to dismiss or, in the

alternative, grant her motion to transfer venue.




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Date: April 10, 2020                                   Respectfully submitted.

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                                     CERTIFICATE OF SERVICE

      I hereby certify that on April 10, 2020, I electronically filed the foregoing document through
the Court’s ECF system, which automatically serves notification of the filing on counsel for all
parties.

                                                   /s/ Ryan L. Bangert
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